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6    Attorney for Defendant
     PAMELA STEPHANIE EMANUEL
7
8                            IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,             )   Case No. 2:17-CR-0060 MCE
                                            )
12       Plaintiff,                         )
                                            )   ORDER ON MOTION
13                    vs.                   )
                                            )
14    PAMELA STEPHANIE EMANUEL,             )   Judge: Hon. Morrison C. England, Jr.
                                            )
15       Defendant.                         )
                                            )
16                                          )
17          On July 28, 2020, Ms. Emanuel moved the Court to reduce her sentence to time
18   served pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). ECF 262. On August 11 the
19   government filed a statement of non-opposition. ECF 269. Having reviewed the motion
20   and response, the Court GRANTS the motion and reduces the sentence of
21   imprisonment imposed on March 19, 2020, to time served.
22          Defendant is hereby ordered released to reside with her daughter, Pamela Edy
23   Emanuel, at the Los Gatos address defense counsel has provided to the Probation
24   Office. Ms. Emanuel shall exercise all precautions, including using a face mask, while
25   traveling to her home, and shall quarantine there for 14 days. The conditions of
26   supervised release ordered at sentencing on March 19, 2020, take effect immediately
27   upon her release from imprisonment and she shall report to the Sacramento Probation
28   Office as previously ordered. An amended judgment shall follow.



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1          The Clerk’s Office is directed to serve a copy of this Order on the U.S. Marshal
2    Service and the Bureau of Prisons to assure Ms. Emanuel’s prompt release.
3          IT IS SO ORDERED.
4    Dated: August 13, 2020
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